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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Howard Cohan
                                         Plaintiff,
v.                                                       Case No.: 1:17−cv−07752
                                                         Honorable Thomas M. Durkin
Sunstone North State Lessee, Inc.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 2, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:At the request of
counsel, the 1/5/2018 status hearing is vacated and reset for 1/22/2018 at 09:00 AM. If a
stipulation to dismiss is filed before the next status date, no appearance will be required.
Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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